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                        NOT RECOMMENDED FOR PUBLICATION

                                           No. 24-5511

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT


HONORABLE ORDER OF KENTUCKY                              )
COLONELS, INC.,                                          )
                                                         )
       Plaintiff-Appellee,                               )
                                                         )
v.                                                       )
                                                         )
KENTUCKY COLONELS INTERNATIONAL;                         )    ON APPEAL FROM THE UNITED
GLOBCAL INTERNATIONAL; ECOLOGY                           )    STATES DISTRICT COURT FOR
CROSSROADS COOPERATIVE FOUNDATION,                       )    THE WESTERN DISTRICT OF
INC.; UNKNOWN DEFENDANTS,                                )    KENTUCKY
                                                         )
       Defendants,                                       )
                                                         )
and                                                      )
                                                         )
DAVID J. WRIGHT, Individually and in his                 )
Capacity as President of Ecology Crossroads              )
Cooperative Foundation, Inc.,                            )
                                                         )
       Defendant-Appellant.                              )

                                                ORDER


       Before: STRANCH, MURPHY, and MATHIS, Circuit Judges.


       This matter is before the court upon a motion to dismiss filed by the Honorable Order of
Kentucky Colonels, Inc. (Appellee).
       Appellee filed suit alleging that defendants infringed on their trademark. During the course
of the litigation, the district court ruled that David J. Wright, a non-attorney, could not represent
the corporate defendants and ordered those defendants to obtain counsel. They failed to do so, and
Appellee obtained an entry of default against the corporate defendants in 2020. Before default
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                                   judgment could be entered, the parties agreed to a permanent injunction and the case was
                                   dismissed.
                                          In 2023, Appellee moved to reopen the case to enforce the permanent injunction. Appellee
                                   also moved for default judgment against the corporate defendants, noting the previous entry of
                                   default. The district court again allowed the corporate defendants time to obtain counsel. They
                                   again failed to obtain counsel, but Wright attempted to respond on their behalf. On April 22, 2024,
                                   the district court granted Appellee’s motion for default judgment against the corporate defendants
                                   and struck Wright’s response. Wright has now filed a notice of appeal, purportedly as the
                                   <executive officer and founder= of the corporate defendants. He seeks to appeal the entry of default
                                   issued against the corporate defendants in 2020 and the subsequent default judgment entered in
                                   2024. Appellee moves to dismiss the appeal, arguing that the notice of appeal was improperly
                                   filed because Wright is not an attorney and cannot represent the corporate defendants.
                                          A corporation, partnership, or association may appear in federal courts only through
                                   licensed counsel; those entities may not conduct federal litigation through an officer, agent, or
                                   shareholder. Rowland v. Cal. Men’s Colony, Unit II Men’s Advisory Council, 506 U.S. 194, 201-
                                   03 (1993). Because the notice of appeal filed in this case is signed only by Wright, it is inadequate
                                   to perfect an appeal on the part of the corporate defendants.
                                          Accordingly, Appellee’s motion to dismiss is GRANTED and this appeal is DISMISSED.


                                                                                 ENTERED BY ORDER OF THE COURT




                                                                                 Kelly L. Stephens, Clerk




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